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 4     Securities and Exchange Commission
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 6     444 S. Flower Street, Suite 900
       Los Angeles, California 90071
 7     Telephone: (323) 965-3998
       Facsimile: (213) 443-1904
 8
                                   UNITED STATES DISTRICT COURT
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                                 CENTRAL DISTRICT OF CALIFORNIA
10
                                              WESTERN DIVISION
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14       SECURITIES AND EXCHANGE                        Case No. 2:19-CV-01412-FMO
         COMMISSION,
15
                          Plaintiff,                    NOTICE OF CONTINUED HEARING
16                                                      DATE FOR PLAINTIFF SECURITIES
                 vs.                                    AND EXCHANGE COMMISSION’S
17                                                      AMENDED MOTION FOR DEFAULT
         DANIEL R. ADAMS, MICHAEL A.                    JUDGMENT AGAINST
18       FLANDERS, SPIDERWORX MEDIA                     DEFENDANTS SPIDERWORX
19       LLC, and AN L.A. MINUTE LLC,                   MEDIA LLC, AND AN L.A. MINUTE
                                                        LLC (DKT. NO. 36)
20                        Defendants.
                                                        Prior Hearing Date: July 11, 2019
21                                                      New Hearing Date: August 15, 2019
                                                        Time: 10:00A.M.
22                                                      Ctrm: 6D
                                                        Judge: Hon. Fernando M. Olguin
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       Notice of Continued Hearing Date for SEC’s
                                                                       Case No. 2:19-cv-01412-FMO
       Motion for Default Judgment
     Case 2:19-cv-01412-FMO-RAO Document 38 Filed 06/25/19 Page 2 of 4 Page ID #:502




 1     TO ALL DEFENDANTS:
 2           PLEASE TAKE NOTICE that, pursuant to the Order Re: Hearing for Motion
 3     for Default Judgment issued June 25, 2019 (Dkt. No. 37), the Court has sua sponte
 4     continued the hearing date for Plaintiffs Securities and Exchange Commission’s
 5     (“SEC’s”) Amended Motion for Default Judgment against defendants Spiderworx
 6     Media LLC and An L.A. Minute LLC (Dkt. No. 36) as follows:
 7           Previous Hearing Date/Time: July 11, 2019, 10:00 A.M.
 8           New Hearing Date/Time per Dkt. No. 37: August 15, 2019, 10:00 A.M.
 9           The August 15, 2019 hearing will take place at the United States District Court,
10     Central District of California, 350 W 1st Street, Los Angeles, CA 90012-4565,
11     Courtroom 6D, before the Honorable Fernando M. Olguin. Pursuant to C.D. Cal.
12     Local Rule 7-11, any opposition to the SEC’s motion is due to be filed on or before
13     July 25, 2019, and any reply in support of the SEC’s motion is due to be filed on or
14     before August 1, 2019.
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16      Dated: June 25, 2019                         Respectfully submitted,
17                                                   /s/ Amy Jane Longo
18                                                   Amy Jane Longo
                                                     Attorney for Plaintiff
19                                                   Securities and Exchange Commission
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 1                                             PROOF OF SERVICE
 2     I am over the age of 18 years and not a party to this action. My business address is:
 3             U.S. SECURITIES AND EXCHANGE COMMISSION,
               444 S. Flower Street, Suite 900, Los Angeles, California 90071
 4             Telephone No. (323) 965-3998; Facsimile No. (213) 443-1904.
 5     On June 25, 2019, I caused to be served the document entitled
       NOTICE OF CONTINUED HEARING DATE FOR PLAINTIFF SECURITIES
 6     AND EXCHANGE COMMISSION’S AMENDED MOTION FOR DEFAULT
       JUDGMENT AGAINST DEFENDANTS SPIDERWORX MEDIA LLC, AND
 7     AN L.A. MINUTE LLC (DKT. NO. 36)
 8      on all the parties to this action addressed as stated on the attached service list:
 9     ☐      OFFICE MAIL: By placing in sealed envelope(s), which I placed for
       collection and mailing today following ordinary business practices. I am readily
10     familiar with this agency’s practice for collection and processing of correspondence
       for mailing; such correspondence would be deposited with the U.S. Postal Service on
11     the same day in the ordinary course of business.

12           ☐      PERSONAL DEPOSIT IN MAIL: By placing in sealed envelope(s),
       which I personally deposited with the U.S. Postal Service. Each such envelope was
13     deposited with the U.S. Postal Service at Los Angeles, California, with first class
       postage thereon fully prepaid.
14           ☐     EXPRESS U.S. MAIL: Each such envelope was deposited in a facility
15     regularly maintained at the U.S. Postal Service for receipt of Express Mail at Los
       Angeles, California, with Express Mail postage paid.
16     ☐      HAND DELIVERY: I caused to be hand delivered each such envelope to the
17     office of the addressee as stated on the attached service list.

18     ☒     UNITED PARCEL SERVICE: By placing in sealed envelope(s) designated
       by United Parcel Service (“UPS”) with delivery fees paid or provided for, which I
19     deposited in a facility regularly maintained by UPS or delivered to a UPS courier, at
       Los Angeles, California.
20     ☒      ELECTRONIC MAIL: By transmitting the document by electronic mail to
21     the electronic mail address as stated on the attached service list.

22     ☐    E-FILING: By causing the document to be electronically filed via the Court’s
       CM/ECF system, which effects electronic service on counsel who are registered with
23     the CM/ECF system.

24     ☐     FAX: By transmitting the document by facsimile transmission. The
       transmission was reported as complete and without error.
25
               I declare under penalty of perjury that the foregoing is true and correct.
26
        Date: June 25, 2019                            /s/ Amy J. Longo
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                                                      AMY J. LONGO
28
       Notice of Continued Hearing Date for SEC’s
                                                                          Case No. 2:19-cv-01412-FMO
       Motion for Default Judgment
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 1                             SEC v. Daniel Adams, etc. et al
                 United States District Court—Central District of California
 2                           Case No. 2:19-cv-01412-FMO-RAO
 3                                    SERVICE LIST
 4                Michael A. Flanders (served by e-mail)
                  501 Sandy Cove
 5
                  Old Hickory, TN 37138-2571
 6                Pro Se Defendant
 7
                  Daniel R. Adams (served by e-mail)
 8                550 S. Barrington Ave., Apt 4115
                  Los Angeles, CA 90049
 9
                  Pro Se Defendant
10
                  An L.A. Minute, LLC
11
                  Registered Agent of Service Daniel R. Adams (served by mail)
12                550 S. Barrington Ave., Apt 4115
                  Los Angeles, CA 90049
13
14                Spiderworx Media, LLC
15                Registered Agent of Service Daniel R. Adams (served by mail)
                  550 S. Barrington Ave., Apt 4115
16                Los Angeles, CA 90049
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